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 4
                           UNITED STATES DISTRICT COURT
 5                        EASTERN DISTRICT OF WASHINGTON

 6   UNITED STATES OF AMERICA,           )
                                         )
 7                     Plaintiff,        )       CR-07-144-RHW-1
                                         )
 8           Vs.                         )       ORDER GRANTING
                                         )       UNOPPOSED MOTION
 9   TRISTAN REYNOLDS,                   )
                                         )
10                     Defendant.        )
                                         )
11
              The Defendant’s unopposed Motion to Modify Conditions of
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     Release (Ct. Rec. 95) having been read and considered; and it
13
     appearing that the United States Attorney does not oppose said
14
     Motion,
15
              IT IS ORDERED:
16
              1.   Defendant’s Motion to Modify Conditions of Release [Ct.
17
     Rec. 95] is GRANTED.
18
              2.   The condition of release requiring Mr. Reynolds to post
19
     a $25,000 corporate surety bond is lifted and said bond shall be
20
     exonerated.     All other conditions of release shall remain in full
21
     force and effect.
22
              DATED February 18, 2009.
23

24
                               S/ CYNTHIA IMBROGNO
25                        UNITED STATES MAGISTRATE JUDGE
26

27   ORDER
                                             1
